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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Margarito Castanon Nava, et al.
                                            Plaintiff,
v.                                                       Case No.: 1:18−cv−03757
                                                         Honorable Rebecca R. Pallmeyer
Department of Homeland Security, et al.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 20, 2019:


       MINUTE entry before the Honorable Rebecca R. Pallmeyer: Briefing schedule
having been entered on Defendants' motion to dismiss Plaintiffs' Second Amended
Complaint [66], motion is entered and continued. Appearance on 3/21/2019 is stricken.
Mailed notice. (etv, )




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